       Case 2:19-cv-13425-WBV-JCW Document 32 Filed 12/06/19 Page 1 of 2



                            UNITED STATES DISTRICT COURT

                            EASTERN DISTRICT OF LOUISIANA

JOHN DOE                                                  CIVIL ACTION NO. 19-13425

VERSUS                                                    SECTION “D”
                                                          DISTRICT JUDGE VITTER
THE ADMINISTRATORS OF THE
TULANE EDUCATIONAL FUND                                   MAG. DIV. (2)
                                                          MAG. JUDGE WILKINSON


                        DEFENDANT’S APPEAL FROM AND
                   OBJECTION TO MAGISTRATE JUDGE’S RULING

         NOW INTO COURT, through undersigned counsel, come Defendant, the Administrators

of the Tulane Educational Fund, (“Tulane”), who, without waiving and expressly reserving any

other motions, arguments, objections and/or defenses to this action, appear solely pursuant to

Fed. R. Civ. Proc. 72(a) to respectfully submit Defendant’s Appeal From and Objection to

Magistrate’s Judge’s Ruling, in response to the Magistrate’s Depositions Order and Reasons

(Rec. Doc. 25).       For the factual and legal reasons detailed more fully in the attached

Memorandum in Support, Defendants respectfully submits the granting of this appeal and

objection is warranted, and respectfully move this Court for an order sustaining Defendant’s

limited appeal and objection, and providing reasonable limitations and safeguards on the

deposition of non-party Jane Roe.

         WHEREFORE, Defendants, the Administrators of the Tulane Educational Fund,

respectfully requests that this appeal and objection of the Magistrate’s ruling be sustained; and an

order entered by this Court providing reasonable limitations and safeguards on the deposition of

non-party Jane Roe.




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       Case 2:19-cv-13425-WBV-JCW Document 32 Filed 12/06/19 Page 2 of 2



                                    Respectfully submitted,

                                    PHELPS DUNBAR LLP

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                                    ADMINISTRATORS OF THE TULANE
                                    EDUCATIONAL FUND




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